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IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF TEXAS

AUSTIN DIVISION
KEITI-I A. DZIERZANOWSKI and §
HOLLY M. DZIERZANOWSKI §
Plaintiffs §
§
VS. § CIVIL ACTION NO. 1:15-cv~1'76~RP
§
§
STATE FARM LLOYDS §
Defendant. § JURY

STIPULATION OF DISMISSAL

TO THB HONORABLE JUDGE ROBERT PITMAN:

It is hereby stipulated by and between Plaintiffs, Keith A. Dzierzanowski and Holly M.
Dzierzanowski, and Defendant, State Fa.rm Lloyds, through their designated counsel, that the
above-captioned action brought by Plaintiffs, Keith A. Dzierzanowski and Hoily M.
Dzierzanowski, be and hereby dismissed, pursuant to F.R.C.P. 4l(a)(1)(ii). Costs of court are to
be assessed against the party incurring the same

Dated the day of , 2015.

 

ROBERT PITMAN
UNITED STATES DISTRICT IUDGE

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APPROVED AND AGREED:

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